            Case 3:18-bk-33116                        Doc 3          Filed 10/12/18 Entered 10/12/18 16:32:13           Desc Main
                                                                     Document      Page 1 of 1
LBR Form 1015-2                                                                                              Case No.

                                                STATEMENT OF RELATED CASES
                                          INFORMATION REQUIRED BY LOCAL RULE 1015-2
                                 UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF OHIO

Check the appropriate box(es) with respect to each of the following items and state the required information in the space below.

If any previous bankruptcy case of any kind was filed in any court within the last eight (8) years by or against this debtor or any entity
related to the debtor as described below, or if the debtor or any entity related to the debtor as described below has a pending
bankruptcy case in any bankruptcy court regardless of when such case was filed, then set forth 1) the name of the debtor, 2) the case
number, 3) the date filed, 4) the chapter filed under, 5) the district and division where the case is or was pending, 6) whether the case
is open or closed, 7) if the case remains open, whether the case is dismissed, 8) whether a discharge was granted, denied, or revoked,
9) any real estate in the case, 10) the judge assigned to the case, and 11) the prior case was a case under chapter 13 which was
confirmed, paid out and discharged, and the current case is a chapter 7 case, the percentage paid to unsecured creditors in the chapter
13 case.

                        None

                        This debtor (identical individual, including DBAs, FDBAs)
                        This debtor (identical business entity)
                        Spouse of this debtor
                        Former spouse of this debtor
                        Affiliate(s) of this debtor (see §101(2) of the Code)
                        Entity with which this debtor has substantial identity of financial interests or assets
                        Corporation/LLC if this debtor is or was a major shareholder/member of the corporation/LLC
                        Major shareholder of this debtor (if this debtor is a corporation)
                        Partnership, if this debtor is or was a general partner in the partnership
                        General partner of this debtor (if this debtor is a partnership)
                        General partner of this debtor (if this debtor is or was another general partner therewith)

 Debtor Name                    Case Number                    Date Filed        Chapter             JudgeName


 District/                      Open/Closed                    Dismissed         Discharge (Granted/ Real Estate        Percentage Paid
 Division                                                      (Y/N)             Denied/Revoked)     (Y/N)              (If applicable)

I declare, under penalty of perjury, that the foregoing is true and correct.

 Dated: October 9, 2018                                                          /s/ Donald Gene Winters
                                                                                 Donald Gene Winters
                                                                                 Debtor
                                                                                 /s/ Hannah Marie Winters
                                                                                 Hannah Marie Winters
                                                                                 Joint Debtor




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
